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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )       Criminal No. 18-CR-10069-LTS
                                              )
ANTIONE AJAKA (1),                            )
a/k/a TONY AJAKA,                             )
                                              )
ANNI BEURKLIAN (2),                           )
a/k/a ANNI AJAKA, et. al,                     )
                                              )
       Defendants.                            )

                             WRIT AND RESTRAINING ORDER

       Upon consideration of the United States’ Emergency Motion for a Writ and Restraining

Order under the All Writs Act (the “Motion”), it is hereby:

       ORDERED that the Motion is granted; and it is further

       ORDERED that Antione Ajaka (a/k/a Tony Ajaka) and Anni Beurklian (a/k/a Anni

Ajaka), both individually and in their capacity as trustees of 10 Juniper Hill Realty Trust,

(collectively the “Defendants”), as well as the Defendants’ representatives, attorneys, agents,

family members, nominees, alter egos (companies), custodians, assigns, and any other person or

entity holding any property on the Defendants’ behalf, or with the authority to act on the

Defendants’ behalf (the “Restrained Parties”) are restrained from alienating, dissipating,

transferring, selling, assigning, leasing, pledging, encumbering, disposing, concealing, moving,

or attempting or completing any action that would affect or diminish the value of any interest the

Defendants hold in 10 Juniper Hill Road, Waltham, Massachusetts (the “Real Property”),
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whether individual or as trustee, or otherwise render the interest unavailable for payment of any

criminal monetary penalties imposed upon the Defendants; and it is further

         ORDERED that compliance with the terms of this Order requires that the Restrained

Parties shall not engage in the following:

         a.       Directly or indirectly alienate, dissipate, transfer, sell, assign, lease, pledge,
                  encumber, or dispose of the Real Property, in any manner without prior approval
                  of this Court;

         b.       Take, or cause to be taken, any action which could have the effect of concealing
                  or moving the Real Property or property traceable thereto from the jurisdiction of
                  this Court; or

         c.       Take or cause to be taken, any action that would have the effect of depreciating,
                  damaging, or in any way diminishing the value of the Real Property;

and it is further

         ORDERED that this Order shall not apply to the contemplated sale of the Real Property

by the Defendants, as individuals or trustees, to D.A.D.1 (the “Buyer”) for the purchase price of

$1,200,000, provided, however, that total net sale proceeds in the amount of $1,146,231.86 (the

“Funds”) are paid over to the Clerk of Court as provided in this Order; and it is further

         ORDERED that Loughran & Corbett Attorneys, Inc. is directed to turn over an amount

equal to $1,134,231.86 of the Funds within five calendar days from the sale of the Real Property

by mailing a check or money order made payable to “Clerk of Court” to:

         Clerk of Court
         United States District Court
         1 Courthouse Way, Suite 2300
         Boston, MA 02210


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          To protect the identity of the buyer, only the buyer’s initials are used. A person or entity may inquire into
the full legal name of the buyer by contacting the settlement agent: Loughran & Corbett Attorneys, Inc., 75 N.
Beacon Street, P.O. Box 228, Watertown, MA 02471, Tel. No. (617) 926-4466.

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and noting “Criminal No. 18-CR-10069-LTS” in the memo section of the payment method; and

it is further

        ORDERED that Coldwell Banker (a/k/a Coldwell Banker Real Estate LLC) is directed to

turn over an amount equal to $12,000 of the Funds within five calendar days from the sale of the

Real Property by mailing a check or money order made payable to “Clerk of Court” to:

        Clerk of Court
        United States District Court
        1 Courthouse Way, Suite 2300
        Boston, MA 02210

and noting “Criminal No. 18-CR-10069-LTS” in the memo section of the payment method; and

it is further

        ORDERED that the United States Attorney’s Office may request a further order from this

Court allowing additional, reasonable expenses or disbursements to be paid from the Funds if

such expenses or disbursements are necessary for the above-referenced closing of the Real

Property to occur; and it is further

        ORDERED that the Clerk of Court shall hold, in escrow, any monies paid in this case

until further order from this Court; and it is further

        ORDERED that this Order shall remain in full force and effect until further order from

this Court.



Date: 3/29/2018
      ______________________                             ____________________________________
                                                          /s/ Leo T. Sorokin
                                                         Leo T. Sorokin
                                                         United States District Judge




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